                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI

 UNITED STATES OF AMERICA,                )
                                          )
                Plaintiff,                )
                                          )   No.: 4:15-CR-00404 HEA/NAB
 vs.                                      )
                                          )
 OSCAR DILLON, III, and                   )
 MICHAEL GRADY                            )
         Defendants.                      )

                   DEFENDANTS’ JOINT AND UNOPPOSED
                     MOTION TO CONTINUE HEARING

       COMES NOW, Defendants, OSCAR DILLON, III and MICHAEL GRADY,

through their undersigned counsels, respectfully move this Honorable Court to

reschedule the motion hearing currently set for March 29, 2018. In support thereof,

the following is offered:

       1.    Defendants’ Motions to Dismiss have been fully briefed since December

18, 2017.

       2.    On February 28, 2017, in lieu of an evidentiary hearing on this matter,

a telephonic status hearing was held to determine the outstanding discovery issues

as they related to Defendants’ Motions to Dismiss. At that hearing, the government

indicated it was in need of additional time to produce discovery that Defendant

Dillon requested, relative to the motions to dismiss, in early December 2017.

       3.    The production, which included seven discs containing thousands of

documents, was produced less than a week before the March 29, 2018 evidentiary

hearing.
      4.     Based on the records the undersigned counsels have had the ability to

review in such a short time span, there appears to be additional relevant documents

that the government has yet to produce that are pertinent to Defendants’ Motions to

Dismiss.

      5.     For the aforementioned reasons, Defendants respectfully request that

the evidentiary hearing be continued to a date to be determined at the March 29,

2018 status hearing before this Honorable Court. Additionally, Defendants request

that the government be ordered to produce any and all outstanding discovery

immediately upon receipt.

      6.     Assistant United States Attorney Michael Reilly has indicated he has

no objection to both a continuance of the evidentiary hearing and re-setting the

March 29, 2018 evidentiary hearing as a status hearing.

      WHEREFORE, Defendants Oscar Dillon, III and Michael Grady, respectfully

move this Honorable Court to continue the motion hearing and reset the March 29,

2018 evidentiary hearing as a status hearing.

                                       Respectfully submitted,

                                        /s Blaire C. Dalton
                                       An Attorney for Oscar Dillon, III


                                        /s Vadim A. Glozman
                                       An Attorney for Oscar Dillon, III

                                        /s Quinn Michaelis
                                       Attorney for Michael Grady




                                          2
Blaire C. Dalton, #6305696IL
DALTON LAW, LLC
53 W. Jackson Blvd., Ste. 1420
Chicago, Illinois 60604
(847) 373-4750
blairec.dalton@gmail.com

Vadim A. Glozman, #6315389IL
EDWARD M. GENSON & ASSOCIATES
53 West Jackson Blvd., Suite 1420
Chicago, Illinois 60604
(312) 726-9015
vglozman2@gmail.com

Quinn A. Michaelis, #6293379
150 North Michigan Avenue, Suite 800
Chicago, IL 60601
312-714-6920
qmichaelis@yahoo.com




                                       3
                          CERTIFICATE OF SERVICE

       I hereby certify that on March 28, 2018, a true and correct copy of the
attached MOTION TO CONTINUE was filed electronically with the Clerk of the Court
to be served by operation of the Court’s electronic filing system upon the following:
all Attorneys of record.

                                         /s   Blaire C. Dalton




                                          4
